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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 IN RE: FCA US LLC MONOSTABLE
 ELECTRONIC GEARSHIFT LITIGATION                                Case Number 16-md-02744
                                                                Honorable David M. Lawson
                MDL No. 2744                                    Magistrate Judge David R. Grand

 _____________________________________/

             PRETRIAL ORDER NO. 19: CONSOLIDATION OF NEWLY FILED
             PERSONAL INJURY CASE AND MODIFIED FILING PROCEDURE
               FOR PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        The Court held a status conference on January 17, 2019, attended by lead and liaison

 counsel for the plaintiffs and counsel for the defendant on both the economic loss and personal

 injury cases. The Court approved the proposed agenda submitted by the parties. Counsel

 reported on the initiation of a new personal injury action that recently was filed in this district and

 transferred to the undersigned. Lead counsel for the plaintiffs indicated that, due to the failure by

 counsel to allow for sufficient lead time before completing the motion for class certification, the

 parties would be unable to comply with the procedure set forth in Pretrial Order No. 8 governing

 the filing of materials under seal. After hearing the parties’ presentation about the difficulties that

 counsel now face in meeting the class certification motion filing deadline, the Court advised them

 that it would, in this instance only, allow a modified procedure for filing of certain exhibits to the

 motion, in order to facilitate the timely progress of the litigation. The parties also requested

 extensions of the deadlines and page limits for their briefing on the class certification motion,

 which the Court granted in part.

        Accordingly, it is ORDERED as follows:

        I.      Tag-Along Complaint — New Economic Loss Case. The case of Lalli v. FCA

 US, LLC, No. 19-10046, was newly filed in this district and transferred to the undersigned as a
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 companion matter. As provided for in Pretrial Order No. 1, it is consolidated with the present

 action (“Any ‘tag-along actions’ transferred to this Court, or directly filed in the Eastern District

 of Michigan, will be consolidated automatically with this action without the necessity of future

 motions or orders.”). Service of the complaint shall be completed and the defendant shall answer

 or otherwise respond to the complaint within the time allowed by the applicable Federal Rules of

 Civil Procedure. The parties agree that arrangements will be made forthwith to facilitate an

 inspection of the plaintiff’s vehicle and to schedule her deposition.

        II.     Filing Procedure for Class Certification Motion.             To facilitate the timely

 progress of the litigation, the Court will permit the parties to follow a modified procedure for filing

 exhibits, in this instance only. With respect to all future motion practice, counsel must comply,

 and plan their work well in advance to ensure that they can comply, with the procedure regarding

 the filing of material under seal set forth in Pretrial Order Number 8. For the class certification

 motion only, the motion may be filed with two copies of any supporting exhibits that contain

 material that the defendant has designated as confidential. Redacted copies of any exhibits that

 contain information deemed confidential shall be filed along with the motion. Unredacted copies

 of the same exhibits shall be filed separately and conditionally under seal for review by the Court.

 The plaintiffs must file a master index of all exhibits on or before February 7, 2019, which shall

 include an itemization of all exhibits or portions of exhibits comprising any material designated

 by the defendant as confidential. If the defendant believes that any of the designated material

 should be maintained under seal, then on or before February 21, 2019 it must file a properly

 supported motion to seal under E.D. Mich. LR 5.3, identifying the particular items or portions of

 items that it believes should be sealed, accompanied by a detailed factual presentation and legal


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 authority to justify the sealing. If the sealing motion is granted, then the redacted items, in their

 unredacted form, will be considered by the Court when adjudicating the motion. If the sealing

 motion is denied, then the filing party may file the item, but not under seal, or withdraw the item.

 The parties must meet and confer in accordance with Local Rule 7.1(a) to ascertain whether the

 plaintiffs will oppose any requests by the defendant for sealing particular materials. Lack of

 opposition does not assure that the sealing motion will be granted. The response to the sealing

 motion, if it is opposed, and the reply, if any, shall be filed within the time allowed by the

 applicable local rules.

         III.    Extension of Briefing Schedule and Page Limits for Class Certification

 Motion. The defendant’s response to the plaintiffs’ motion for class certification must be filed

 on or before March 4, 2019, and the plaintiffs’ reply must be filed on or before March 22, 2019.

 The plaintiffs are allowed a cumulative total of 60 pages for briefing in support of the motion,

 which they may divide as they see fit between the initial motion brief and the reply. The

 defendant’s brief in opposition shall not exceed 50 pages in length, regardless of the length of the

 initial motion brief.

         IV.     Status Conference Schedule. The schedule for additional status conferences is

 set forth below.

                                February 19, 2019 at 3:00 p.m.
                                March 20, 2019 at 2:00 p.m.
                                April 23, 2019 at 2:30 p.m.
                                May 22, 2019 at 3:00 p.m.

 Proposed agenda items may be submitted one week in advance of each scheduled status

 conference. As in the past, the Court may cancel a conference if there appears to be no need for

 it. Status conferences must be attended in person by lead and liaison counsel for the plaintiffs and

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 by lead defense counsel on the economic loss and personal injury parts of the case. Other counsel

 for the plaintiffs may attend. The conferences will be conducted in open court and a record will

 be made.

                                                                    s/David M. Lawson
                                                                    DAVID M. LAWSON
                                                                    United States District Judge

 Date:   January 29, 2019


                                          PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was
                       served upon each attorney or party of record herein by
                       electronic means or first class U.S. mail on January 29, 2019.

                                                  s/Susan K. Pinkowski
                                                  SUSAN K. PINKOWSKI




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